         Case 3:18-md-02843-VC Document 338 Filed 11/13/19 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA



 IN RE FACEBOOK, INC. CONSUMER                    MDL No. 2843

 PRIVACY USER PROFILE LITIGATION                  Case No. 18-md-02843-VC


 This document relates to:                        PRETRIAL ORDER NO. 28: CASE
                                                  MANAGEMENT
 ALL ACTIONS



       1.     Supplemental briefs regarding how to proceed with discovery are due from lead

plaintiffs’ counsel and Facebook on November 18, 2019.

       2.      The parties are ordered to conduct a conference pursuant to Federal Rule of Civil

Procedure 26(f) by November 11, 2019.

       3.     Initial disclosures are due December 10, 2019.

       4.     As discussed at the case management conference, the related case Hassan et al. v.

Facebook, No. 3:19-cv-01103-VC (N.D. Cal.), will be treated like the other member cases in the

MDL.

       IT IS SO ORDERED.

Dated: November 13, 2019
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
